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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
----------------------------------------------------X

Milton McKeever,

                                 Plaintiff,                 Civil Action No.:_____________

                     against


                                                                 VERIFIED COMPLAINT AND
                                                                 DEMAND FOR JURY TRIAL

Dynamic Recovery Solutions, LLC
                                  Defendant.
----------------------------------------------------X

        Plaintiff Milton McKeever (hereinafter referred to as “Plaintiff”), by and through her

attorneys, Fredrick Schulman & Associates, Attorneys at Law, brings this action to recover

monetary damages, and declaratory and injunctive relief against, Defendant Dynamic Recovery

Solutions, LLC             (hereinafter referred to as “Defendant”), arising from Defendant’s

violations of 15 U.S.C. §1692 et seq., commonly referred to as the Fair Debt Collection Practices

Act (hereinafter referred to as “FDCPA”), which prohibits debt collectors from engaging in false,

deceptive, misleading, or unfair collection practices, and respectfully sets forth, complains and

alleges, upon information and belief, the following:


                                     PRELIMINARY STATEMENT

        The FDCPA regulates the behavior of collection agencies attempting to collect a debt on

behalf of another. The United States Congress has found abundant evidence of the use of

abusive, deceptive, and unfair debt collection practices by debt collectors, and has determined

that abusive debt collection practices contribute to a number of personal bankruptcies, marital

instability, loss of jobs, and invasions of individual privacy. Congress enacted the FDCPA to


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eliminate abusive debt collection practices by debt collectors, to ensure that those debt collectors

who refrain from using abusive debt collection practices are not competitively disadvantaged,

and to promote uniform State action to protect consumers against debt collection abuses. 15

U.S.C. §1692(a)-(e).

       The elements of an FDCPA claim are (1) the Plaintiff(s) is a consumer under 15 U.S.C.

§1692a(3) or §1692c(d); (2) the debt at issue is a consumer debt under 15 U.S.C.§1692a(5); (3)

the Defendant is a debt collector under 15 U.S.C. §1692a(6); and (4) that the Defendant has

violated, through acts or omissions, some part of the FDCPA.

                                     JURISDICTION AND VENUE

1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331, as well as 15

U.S.C. §1692 et seq. and 28 U.S.C. §2201. If applicable, the Court also has pendent jurisdiction

over any State law claims in this action pursuant to 28 U.S.C. §1367(a).

2.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b).

                                             PARTIES

3.     At all relevant times herein, Plaintiff is a natural person and a resident of the State of

California, Riverside County.

4.     At all relevant times herein, Plaintiff is a “consumer” as that term is defined in 15 U.S.C.

§1692a(3) of the FDCPA.

5.     Upon information and belief, Defendant Dynamic Recovery Solutions, LLC is a

collection firm registered in the State of North Carolina, with their principal office located at 2

Office Park Ct., Columbia, South Carolina, 29223.

6.     Defendant regularly collects or attempts to collect debts for other parties, and therefore, is

a “debt collector” as the phrase is defined in 15 U.S.C. §1692a(6) of the FDCPA.


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                                               FACTS

7.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “ 1” through “6” herein with the same force and effect as if the same were set forth at

length herein.

8.     Plaintiff allegedly incurred a credit card debt in the amount of $490 in or around the year

1984 (hereinafter referred to as the "Alleged Debt").

9.     Beginning on or about February 17, 2014, Defendant called Plaintiff in an attempt to

collect the Alleged Debt.

10.    In said phone call, Defendant threatened to “prosecute” Plaintiff if he did not pay, despite

not taking or intending to take such action.

11.    During said communication, Defendant failed to send Plaintiff a validation notice with her

rights to dispute the debt within five (5) days of their initial communication.

             FIRST CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692d

12.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “11” herein with the same force and effect as if the same were set forth at

length herein.

13.    Defendant’s conduct violated 15 U.S.C. §1692d in that Defendant engaged in conduct

which harassed, oppressed, and/or abused Plaintiff in attempting to collect the Alleged Debt.

14.    As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.




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           SECOND CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e

15.    Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

numbered “1” through “14” herein with the same force and effect as if the same were set forth at

length herein.

16.    Defendant’s conduct violated 15 U.S.C. §1692e, in that Defendant made false, deceptive,

and/or misleading representations in connection with the collection of the Alleged Debt.

17.    As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.

         THIRD CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(2)(A)

18.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “17” herein with the same force and effect as if the same were set forth at

length herein.

19.    Defendant’s conduct violated 15 U.S.C. §1692e(2)(A) in that Defendant falsely

represented the character and legal status of the Alleged Debt.

20.    As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.

          FOURTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(4)

21.    Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “20” herein with the same force and effect as if the same were set forth at

length herein.




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22.     Defendant’s conduct violated 15 U.S.C. §1692e(4), in that Defendant implied that arrest

or imprisonment would result from non-payment of the Alleged Debt.

23.     As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.

            FIFTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692e(5)

24.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered “1” through “23” herein with the same force and effect as if the same were set forth at

length herein.

25.     Defendant’s conduct violated 15 U.S.C. §1692e(5), in that Defendant threatened to take

action that cannot be legally taken or that is not intended to be taken when it threatened Plaintiff

with a civil suit.

26.     As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.

              SIXTH CAUSE OF ACTION—VIOLATION OF 15 U.S.C. § 1692g

27.     Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

numbered “1” through “26” herein with the same force and effect as if the same were set forth at

length herein.

28.     Defendant’s conduct violated 15 U.S.C. §1692g, in that Defendant failed to send

validation of the debt within five (5) days of its initial communication with Plaintiff.




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29.     As a result of Defendant’s violation of the FDCPA, Plaintiff is entitled to an award of

statutory damages, actual damages, and all costs and reasonable attorney’s fees pursuant to the

relevant provisions of the FDCPA.

                                DEMAND FOR TRIAL BY JURY

30.     Plaintiff hereby demands a trial by jury for all claims and issues in this complaint for

which the Plaintiff is or may be entitled to a jury trial.

                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiff Milton McKeever demands judgment from the Defendant Dynamic

Recovery Solutions, LLC, as follows:

  A.    For actual damages provided and pursuant to 15 U.S.C. Sec. 1692k(a)(1);

  B.    For statutory damages provided and pursuant to 15 U.S.C. Sec.1692k(2)(A);

  C.    For attorneys’ fees and costs provided and pursuant to 15 U.S.C. Sec. 1692k(a)(3);

  D.    For a declaration that the Defendant’s practices violated the FDCPA; and,

  E.    For any such other relief, as well as further costs, expenses and disbursements of this

       action, as this Court may deem just and proper.


Dated: New York, New York
      March 11, 2014
                                                        Respectfully submitted,


                                                        By: Diane C. McDowell, Esq.
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                                                        Attorneys for Plaintiff




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